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                         Exhibit D
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                                   UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF NEW YORK


    G.F.F., et al.,

    Petitioners,
                                                           No. 25-cv-02886 (AKH)

    v.                                                     Declaration of Deputy Assistant Director
                                                           Matthew L. Elliston
    DONALD J. TRUMP, et al.,

    Respondents.



                             DECLARATION OF MATTHEW L. ELLISTON

I, Matthew L. Elliston, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as

follows:

           1.         I am the Deputy Assistant Director for Field Operations, Eastern Division, for

Enforcement and Removal Operations (ERO), within U.S. Immigration and Customs

Enforcement (ICE), U.S. Department of Homeland Security (DHS). In this position, I am the

first-line supervisor for twelve ERO Field Office Directors.

           2.         I began my law enforcement career in 2008 as an Immigration Enforcement Agent

in the ERO Los Angeles Field Office and have served as a Deportation Officer, Detention and

Deportation Officer, Acting Supervisory Detention and Deportation Officer, Section Chief,

Deputy Chief of Staff to the ICE Deputy Director and Deputy Chief of Staff of ERO. In

particular, I have served as Section Chief of the National Fugitive Operations Program (NFOP),

where I managed the daily at-large operations and Special Response Team deployments

throughout the nation. Most recently I served as Deputy Field Office Director and Field Office

Director of Baltimore.


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       3.      I provide this declaration based on my personal knowledge, reasonable inquiry,

and information obtained from various records, systems, databases, other DHS ICE employees,

and information portals maintained and relied upon by DHS ICE in in the regular course of

business.

       4.      I am aware of the above-captioned petition for habeas corpus.

       5.      On March 15, 2025, President Trump announced the Proclamation Invocation of

the Alien Enemies Act Regarding the Invasion of The United States by Tren De Aragua, (the

Proclamation), which states that “[e]vidence irrefutably demonstrates that [Tren De Aragua

(TdA)] has invaded the United States and continues to invade, attempt to invade, and threaten to

invade the country; perpetrated irregular warfare within the country; and used drug trafficking as

a weapon against our citizens.” 90 Fed. Reg. 13,033, 13,033 (Mar. 20, 2025). In the same

Proclamation, President Trump announced that, pursuant to 50 U.S.C. § 21, “all Venezuelan

citizens 14 years of age or older who are members of TdA, are within the United States, and are

not actually naturalized or lawful permanent residents of the United States are liable to be

apprehended, restrained, secured, and removed as Alien Enemies.” 90 Fed. Reg. at 13,034.

       6.      I am aware that , in the case of Trump, et al. v. J.G.G., et al., --- S.Ct. ----, 2025

WL 1024097 (U.S. Apr. 7, 2025), the Supreme Court of the United States stated that “detainees

[held for removal under the Alien Enemies Act (AEA)] are entitled to notice and opportunity to

be heard ‘appropriate to the nature of the case.’”

       7.      The government has adopted procedures for aliens subject to the Proclamation.

       8.      These procedures require that each such alien be provided individual notice, in a

language the alien understands, of the government’s determination that the alien is subject to




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removal as an alien enemy under the Proclamation. The notice will allow the alien a reasonable

time to file a petition for a writ of habeas corpus.


I declare, under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief, as of the time of signature.



Executed this 15th day of April 2025.
                                                  Digitally signed by MATTHEW L
                                                  ELLISTON
                                MATTHEW L         DN: cn=MATTHEW L ELLISTON,
                                                  o=U.S. Government, ou=People,
                                ELLISTON          email=Matthew.Elliston@ice.dhs.g
                                                  ov, c=US
                               ____________________________
                                                  Date: 2025-04-15T22:02:17-0400



                               Matthew L. Elliston
                               Deputy Assistant Director
                               Enforcement and Removal Operations
                               U.S. Immigration and Customs Enforcement
                               U.S. Department of Homeland Security




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